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7                                       UNITED STATES DISTRICT COURT
8                                  CENTRAL DISTRICT OF CALIFORNIA
9

10   SHONNTEY MOODIE, individually and             )   Case No. CV 14-3471 FMO (ASx)
     on behalf of all others similarly situated,   )
11                                                 )
                           Plaintiff,              )
12                                                 )   ORDER RE: FINAL APPROVAL OF CLASS
                   v.                              )   ACTION SETTLEMENT
13                                                 )
     MAXIM HEALTHCARE SERVICES,                    )
14   INC., et al.,                                 )
                                                   )
15                         Defendants.             )
                                                   )
16

17          Having reviewed and considered Plaintiff’s Motion for Final Approval of Class Action
18   Settlement and Certification of Settlement Class, (Dkt. 154, “Motion”), and Plaintiff’s Motion for an
19   Award of Class Representative Incentive Payment and Attorney’s Fees and Costs, (Dkt. 147,
20   “Fees Motion”), and the oral argument presented during the final fairness hearing held on June
21   20, 2019, the court concludes as follows.
22                                             BACKGROUND
23          On May 5, 2014, Ronald Kroenig (“Kroenig”) filed this class action against Maxim
24   Healthcare Services, Inc. (“Maxim”) and E-Verifile.com, Inc. (“E-Verifile”) asserting a single claim
25   for violation of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681, et seq. (See Dkt. 1,
26   Complaint). Following Kroenig’s passing in April 2017, the Third Amended Complaint, the
27   operative complaint, was filed, replacing Kroenig with Shonntey Moodie (“plaintiff” or “Moodie”)
28   as the named plaintiff. (See Dkt. 117, “TAC” at ¶¶ 1 & 6; Dkt. 114-3, Declaration of Christopher
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1    P. Ridout in Support of Plaintiff’s Ex Parte Application at ¶ 2). Plaintiff alleges that in connection

2    with her application for employment, Maxim obtained her consumer report using an invalid release

3    and authorization form.      (See Dkt. 117, TAC at ¶ 2, 8-9, 22-28 & Exh. 1, Release and

4    Authorization Form). According to plaintiff, the authorization form’s “waiver of rights provisions
5    facially contravene the requirements of the FCRA that the disclosure appear in a document that
6    consists solely of the disclosure.”1 (Dkt. 117, TAC at ¶ 25; see also id. at ¶ 28 (alleging
7    authorization form violated the FCRA’s requirement that the “authorization provide a clear and
8    conspicuous disclosure, and that the disclosure appear in a document that consists solely of the
9    disclosure”)). Plaintiff avers that Maxim used the form with the liability waiver on a nationwide
10   basis between May 5, 2009 and August 27, 2012. (See id. at ¶ 21).
11           After extensive litigation, which included the filing of several motions, including a motion for
12   class certification and a motion for summary judgment, (see Dkt. 145, Court’s Order of February
13   4, 2019 (“Preliminary Approval Order” or “PAO”) at 2), and following “considerable formal
14   discovery,” the parties settled the case in 2017. (See id.). The parties have defined the
15   settlement class as “[a]ll individuals who (1) were hired by Maxim between May 5, 2009 and
16   August 27, 2012; (2) executed one of the forms collectively attached as Exhibit ‘A’ or a
17   substantively identical version of those forms; and (3) were the subject of a consumer report
18   procured by Maxim before August 27, 2012.” (Dkt. 144-1, Class Action Settlement Agreement
19   (“Settlement Agreement”) at ¶ 38 & Exh. A; Dkt. 145, PAO at 15).
20           The relief available to the class will come from a $1,200,000 non-reversionary settlement
21   fund, (see Dkt. 144-1, Settlement Agreement at ¶¶ 36, 41, 72; Dkt. 145, PAO at 15-16), after all
22   court-approved deductions for attorney’s fees, costs, settlement administration fees, and the class
23   representative incentive payment. (See Dkt. 144-1, Settlement Agreement at ¶¶ 20 & 41).
24   Payment from the settlement fund will be paid on a pro rata basis to class members who submit
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           Capitalization, emphasis, internal alteration marks, and internal quotation marks may be
28   altered or omitted without notation in record citations.

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1    timely claim forms.2 (See id. at ¶ 76).

2           On February 4, 2019, the court granted preliminary approval of the settlement, appointed

3    JND Legal Administration (“JND”) as settlement administrator, and directed JND to provide notice

4    to the class. (See Dkt. 145, PAO at 21-22). After the court issued its Preliminary Approval Order,

5    JND implemented the notice program approved by the court. (See Dkt. 155, Memo at 1, 9-13;
6    Dkt. 156-1, Declaration of Jennifer M. Keough Regarding Settlement Administration (“Keough
7    Decl.”) at ¶¶ 5-14 & Exh. B (Postcard Notice); Dkt. 145, PAO at 20-21 (approving notice
8    program)). Specifically, on April 5, 2019, after checking and updating addresses via a National
9    Change of Address search, JND sent notice to 121,045 class members via U.S. Mail. (See Dkt.
10   156-1, Keough Decl. at ¶¶ 6-7). There were only five requests for exclusion and no objections.3
11   (See Dkt. 156-1, Keough Decl. at ¶¶ 16, 18). Given the claim submission rate of 19.9%, (see Dkt.
12   156-1, Keough Decl. at ¶ 20; Dkt. 156, Declaration of Christopher P. Ridout in Support of Plaintiff’s
13   Motion for Final Approval of Class Settlement and Certification of Settlement Class (“Ridout Decl.”)
14   at ¶ 15; Dkt. 155, Memo at 6 n. 4), class members who submitted a claim form will each receive
15   approximately $32.87. (See Dkt. 156, Ridout Decl. at ¶ 16; Dkt. 155, Memo at 6).
16          Plaintiff now seeks: (1) final approval of the settlement; (2) attorney’s fees and costs; and
17   (3) an incentive payment for plaintiff. (See Dkt. 154, Motion; Dkt. 147, Fees Motion).
18                                           LEGAL STANDARD
19          Federal Rule of Civil Procedure 23 provides that “[t]he claims, issues, or defenses of a
20   certified class . . . may be settled . . . only with the court’s approval.” Fed. R. Civ. P. 23(e). “The
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23        Each individual who timely submitted a claim form will be entitled to a payment of an amount
     equal to one share of the net settlement fund. The value of each share will be calculated by
24   dividing one by the total number of class members, and then multiplying that number with the net
25   settlement fund. (See Dkt. 144-1, Settlement Agreement at ¶ 76; Dkt. 155, Memorandum of
     Points and Authorities in Support of Plaintiff’s Unopposed Motion for Final Approval of Class
26   Settlement and Certification of Settlement Class (“Memo”) at 5-6).
        3
27       One class member filed on objection requesting that the court extend the claim-submission
     deadline, (see Dkt. 151), but withdrew her objection when her untimely claim was accepted by
28   JND. (See Dkt. 152; see also Dkt. 155, Memo at 22 n. 8).

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1    primary concern of [Rule4 23(e)] is the protection of th[e] class members, including the named

2    plaintiffs, whose rights may not have been given due regard by the negotiating parties.” Officers

3    for Justice v. Civil Serv. Comm’n of City & Cty. of S.F., 688 F.2d 615, 624 (9th Cir. 1982).
4    Whether to approve a class action settlement is “committed to the sound discretion of the trial
5    judge[,]” Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992) (quoting Officers
6    for Justice, 688 F.2d at 625), who must examine the settlement for “overall fairness[.]” In re
7    Hyundai and Kia Fuel Economy Litig., 926 F.3d 539, 569 (9th Cir. 2019). The court may not
8    “delete, modify or substitute certain provisions.” Id. (internal quotation marks omitted). “The
9    settlement must stand or fall in its entirety.” Officers for Justice, 688 F.2d at 630.
10           In order to approve a settlement in a class action, the court must conduct a two-step
11   inquiry.5 First, the court must determine whether the notice requirements of Rule 23(c)(2)(B) have
12   been satisfied. Second, it must conduct a hearing to determine whether the settlement agreement
13   is “fair, reasonable, and adequate.” See Fed. R. Civ. P. 23(e)(2); Staton v. Boeing Co., 327 F.3d
14   938, 959 (9th Cir. 2003) (discussing the Rule 23(e)(2) standard); Adoma v. Univ. of Phoenix, Inc.,
15   913 F.Supp.2d. 964, 972 (E.D. Cal. 2012) (conducting three-step inquiry).
16           In determining whether a settlement is fair, adequate, and reasonable, the court must weigh
17   some or all of the following factors: “(1) the strength of the plaintiff’s case; (2) the risk, expense,
18   complexity, and likely duration of further litigation; (3) the risk of maintaining class action status
19   throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery completed
20   and the stage of the proceedings; (6) the experience and views of counsel; (7) the presence of a
21   governmental participant; and (8) the reaction of the class members of the proposed settlement.”
22   In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (quoting Churchill
23   Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)).
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25          All “Rule” references are to the Federal Rules of Civil Procedure.
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26        If the class action is governed by the Class Action Fairness Act (“CAFA”), the court must also
     assess whether CAFA’s notice requirements have been met. See 28 U.S.C. § 1715(d). Here,
27   JND provided the CAFA Notice, (see Dkt. 156-1, Keough Decl. at ¶¶ 3-4 & Exh. B), and counsel
     for defendant confirmed at the final fairness hearing that there have been no objections to the
28   settlement from the state and federal officials that received CAFA notices.

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1           However, when “a settlement agreement is negotiated prior to formal class certification,

2    consideration of these eight . . . factors alone is not enough to survive appellate review.”

3    Bluetooth, 654 F.3d at 946 (emphasis in original). This is because, “[p]rior to formal class

4    certification, there is an even greater potential for a breach of fiduciary duty owed the class during
5    settlement.” Id.; see Koby v. ARS Nat’l Servs., Inc., 846 F.3d 1071, 1079 (9th Cir. 2017) (“When,
6    as here, a class settlement is negotiated prior to formal class certification, there is an increased
7    risk that the named plaintiffs and class counsel will breach the fiduciary obligations they owe to
8    the absent class members.”). District courts, therefore, also must determine “that the settlement
9    is not the product of collusion among the negotiating parties.” Bluetooth, 654 F.3d at 947 (internal
10   quotation and alteration marks omitted). In making that determination, courts should look for signs
11   of collusion, including “(1) when counsel receive a disproportionate distribution of the settlement,
12   or when the class receives no monetary distribution but class counsel are amply rewarded[;]” “(2)
13   when the parties negotiate a ‘clear sailing’ arrangement providing for the payment of attorneys’
14   fees separate and apart from class funds[;]” and “(3) when the parties arrange for fees not
15   awarded to revert to defendants rather than be added to the class fund[.]” Id. (internal quotation
16   marks and citations omitted).
17                                              DISCUSSION
18   I.     FINAL APPROVAL OF CLASS SETTLEMENT.
19          A.     Class Certification.
20          In its order granting preliminary approval, the court certified the class pursuant to Rule
21   23(b)(3). (See Dkt. 145, PAO at 7-14, 22). Because circumstances have not changed, the court
22   hereby affirms its order certifying the class for settlement purposes under Rule 23(e). See, e.g.,
23   Gonzalez v. BMC West, LLC, 2018 WL 6318832, *5 (C.D. Cal. 2018) (“In its Preliminary Approval
24   Minute Order, the Court certified the Settlement Class in this matter under Rules 23(a) and
25   23(b)(3).   Accordingly, the Court need not find anew that the settlement class meets the
26   certification requirements of Rule 23(a) and (b).”) (internal quotation marks omitted).
27          B.     Rule 23(c) Notice Requirements.
28          Class actions brought under Rule 23(b)(3) must satisfy the notice provisions of Rule

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1    23(c)(2) and, upon settlement of a class action, “[t]he court must direct notice in a reasonable

2    manner to all class members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1).

3    Rule 23(c)(2) requires the “best notice that is practicable under the circumstances, including

4    individual notice” of particular information. See Fed. R. Civ. P. 23(c)(2)(B) (enumerating notice

5    requirements for classes certified under Rule 23(b)(3)).
6           After undertaking the required examination, the court approved the form of the proposed
7    class notice. (See Dkt. 145, PAO at 19-21). As discussed above, the notice program was
8    implemented by JND. (See Dkt. 156-1, Keough Decl. at ¶¶ 5-14). Accordingly, based on its prior
9    findings and the record before it, the court finds that the class notice and the notice process fairly
10   and adequately informed the class members of the nature of the action, the terms of the proposed
11   settlement, the effect of the action and release of claims, the class members’ right to exclude
12   themselves from the action, and their right to object to the proposed settlement. (See Dkt. 145,
13   PAO at 19-21; see also 15-1, Keough Decl. at ¶¶ 5-18 & Exh. B).
14          C.     Whether the Class Settlement is Fair, Adequate and Reasonable.
15                 1.     The Strength of Plaintiff’s Case, and the Risk, Expense, Complexity,
16                        and Duration of Further Litigation.
17          In evaluating the strength of the case, the court should assess “objectively the strengths
18   and weaknesses inherent in the litigation and the impact of those considerations on the parties’
19   decisions to reach [a settlement].” Adoma, 913 F.Supp.2d at 975 (internal quotation marks
20   omitted). “In assessing the risk, expense, complexity, and likely duration of further litigation, the
21   court evaluates the time and cost required.” Id. at 976.
22          Here, in granting preliminary approval of the settlement, the court recognized the “risks of
23   continued litigation [were] significant” and that “weighed against those risks,” and coupled with the
24   “costs and delay associated with continued litigation,” the “benefits to the class” were within the
25   range of reasonableness. (See Dkt. 145, PAO at 156). The settlement here affords class
26   members monetary benefits in the face of various defenses to plaintiff’s claims and substantial
27   expense and delay. (See id. at 16-17; Dkt. 155, Memo at 15-16). Under the circumstances, the
28   court finds it significant that the class members will receive “immediate recovery by way of the

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1    compromise to the mere possibility of relief in the future, after protracted and expensive litigation.”

2    Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 526 (C.D. Cal. 2004) (internal

3    quotation marks omitted). In short, the court finds that this factor supports a finding that the
4    settlement is fair, adequate, and reasonable.
5                  2.      The Risk of Maintaining Class Action Status Through Trial.
6           In its order granting preliminary approval, the court certified the class pursuant to Rule
7    23(b)(3). (See Dkt. 145, PAO at 7-14, 22). In deciding whether to certify the class for settlement
8    purposes, the court determined that the requirements of Rule 23 for settlement purposes have
9    been met. (See id.); Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620, 117 S.Ct. 2231, 2248
10   (1997) (“Confronted with a request for settlement-only class certification, a district court need not
11   inquire whether the case, if tried, would present intractable management problems[.]”). Nothing
12   has been put forth to challenge or otherwise undermine the court’s previous order certifying the
13   class for settlement purposes under Rule 23(e). See In re Apollo Grp. Inc. Sec. Litig., 2012 WL
14   1378677, *4 (D. Ariz. 2012) (“The Court has previously certified, pursuant to Rule 23 of the
15   Federal Rules of Civil Procedure, and hereby reconfirms its order certifying a class.”).
16   Accordingly, this factor weighs in favor of approving the settlement.
17                 3.      The Amount Offered in Settlement.
18          “[T]he very essence of a settlement is compromise, a yielding of absolutes and an
19   abandoning of highest hopes.” Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir.
20   1998) (internal quotation marks omitted). In granting preliminary approval of the settlement, the
21   court concluded that the settlement benefits were fair, adequate, and reasonable in light of the
22   litigation risks in the case. (See Dkt. 145, PAO at 15-17); see, e.g., Esomonu v. Omnicare, Inc.,
23   2019 WL 499750, *4 (N.D. Cal. 2019) (granting final approval of class action settlement in a FCRA
24   case providing class members an estimated $17.31 each, which was “commensurate with
25   recoveries approved by other California district courts”). Accordingly, this factor also weighs in
26   favor of final approval.
27                 4.      The Extent of Discovery Completed and the Stage of Proceedings.
28          “A settlement following sufficient discovery and genuine arms-length negotiation is

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1    presumed fair.” Nat’l Rural Telecomms. Coop., 221 F.R.D. at 528. “A court is more likely to

2    approve a settlement if most of the discovery is completed because it suggests that the parties

3    arrived at a compromise based on a full understanding of the legal and factual issues surrounding

4    the case.” Id. at 527 (internal quotation marks omitted). The court previously examined these

5    factors at length, noting that the parties had engaged in fact and expert discovery, (see Dkt. 145,
6    PAO at 15), and “thoroughly investigated and considered their own and the opposing parties’
7    positions[,]” (id.), which enabled them to develop “a sound basis for measuring the terms of the
8    settlement against the risks of continued litigation[.]” (Id.). In other words, the parties entered the
9    settlement discussions with a substantial understanding of the factual and legal issues from which
10   they could advocate for their respective positions. See Nat’l Rural Telecomms., 221 F.R.D. at
11   527-28 (noting that parties’ examination of the factual and legal bases of the disputed claims
12   through completion of discovery “strongly militates in favor of the Court’s approval of the
13   settlement”); Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 447 (E.D. Cal. 2013) (“What
14   is required is that sufficient discovery has been taken or investigation completed to enable counsel
15   and the court to act intelligently.”) (internal quotation marks omitted). This factor also supports
16   approval of the settlement.
17                 5.      The Experience and Views of Counsel.
18          “Great weight is accorded to the recommendation of counsel, who are most closely
19   acquainted with the facts of the underlying litigation. This is because parties represented by
20   competent counsel are better positioned than courts to produce a settlement that fairly reflects
21   each party’s expected outcome in the litigation.” Nat’l Rural Telecomms., 221 F.R.D. at 528
22   (internal quotation marks and citation omitted). Here, class counsel view the settlement as “fair
23   and in the best interests of the Class.” (See Dkt. 156, Ridout Decl. at ¶ 18). The court has
24   previously noted that class counsel are adequate. (See Dkt. 145, PAO at 11). Thus, this factor
25   also supports approval of the settlement.
26                 6.      The Presence of a Governmental Participant.
27          There is no government participant in this matter. Accordingly, this factor is inapplicable.
28   See Wren v. RGIS Inventory Specialists, 2011 WL 1230826, *10, supplemented by 2011 WL

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1    1838562 (N.D. Cal. 2011) (noting that lack of government entity involved in case rendered this

2    factor inapplicable to the analysis).

3                  7.     The Reaction of Class Members to the Proposed Settlement.

4           “It is established that the absence of a large number of objections to a proposed class

5    action settlement raises a strong presumption that the terms of a proposed class settlement action

6    are favorable to the class members.” Nat’l Rural Telecomms., 221 F.R.D. at 529. Here, the

7    reaction of the class has been very positive. There were only five requests for exclusion and no
8    objections. (See Dkt. 156-1, Keogh Decl. at ¶¶ 16, 18; see, generally, Dkt. (no objections filed
9    with the court)). The lack of objections and limited requests for exclusion support approval of the
10   settlement. See, e.g., Franco v. Ruiz Food Prods., Inc., 2012 WL 5941801, *14 (E.D. Cal. 2012)
11   (finding this factor weighed in favor of approval when only two out of 2,055 class members – less
12   than one percent – opted out, and there were no objections to the settlement); Gong-Chun v.
13   Aetna Inc., 2012 WL 2872788, *16 (E.D. Cal. 2012) (settlement approved when less than two
14   percent of the class members opted out and no objections were received); Barcia v. Contain-A-
15   Way, Inc., 2009 WL 587844, *4 (S.D. Cal. 2009) (finding this factor weighed in favor of approval
16   of settlement when there were only 56 opt outs and no objections out of the 2,385 class
17   members).
18   II.    ATTORNEY’S FEES, COSTS AND SERVICE AWARD.
19          The Settlement Agreement provides that defendant will not oppose class counsel’s request
20   for an award of attorney’s fees up to 25% of the settlement fund. (See Dkt. 144-1, Settlement
21   Agreement at ¶ 85). Class counsel now seek such an award, which amounts to $300,000. (See
22   id.; Dkt. 147, Fees Motion at 1; Dkt. 148, Memorandum of Points and Authorities in Support of
23   Unopposed Motion for an Award of Class Representative Incentive Payment and Attorneys’ Fees
24   and Costs (“Fees Memo”) at 1).
25          A.     Attorney’s Fee Award.
26          Rule 23(h) provides that, “[i]n a certified class action, the court may award reasonable
27   attorney’s fees . . . that are authorized by law or by the parties’ agreement.” Fed. R. Civ. P. 23(h).
28   In general, courts have discretion to choose among two different methods for calculating a

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1    reasonable attorney’s fee award. See Bluetooth, 654 F.3d at 941. Under the “percentage-of-the-

2    fund” or “percentage-of-recovery” method, the “court simply awards the attorneys a percentage

3    of the fund sufficient to provide class counsel with a reasonable fee.” Hanlon v. Chrysler Corp.,

4    150 F.3d 1011, 1029 (9th Cir. 1998). This method is typically used when a common fund is
5    created. See Bluetooth, 654 F.3d at 942.
6           Alternatively, under the lodestar method, the court multiplies the number of reasonable
7    hours expended by a reasonable hourly rate. See Hanlon, 150 F.3d at 1029. Once the lodestar
8    has been determined, the “figure may be adjusted upward or downward to account for several
9    factors including the quality of the representation, the benefit obtained for the class, the complexity
10   and novelty of the issues presented, and the risk of nonpayment.” Id. The lodestar method is
11   typically utilized when the relief obtained is “not easily monetized,” such as when injunctive relief
12   is part of the settlement. See Bluetooth, 654 F.3d at 941. The court’s discretion in choosing
13   between these two methods “must be exercised so as to achieve a reasonable result.” Id. at 942;
14   Glass v. UBS Fin. Servs., Inc., 2007 WL 221862, *14 (N.D. Cal. 2007), aff’d, 331 F.Appx. 452 (9th
15   Cir. 2009) (“As always, when determining attorneys’ fees, the district court [is] guided by the
16   fundamental principle that fee awards out of common funds be reasonable under the
17   circumstances.”) (internal quotation marks and emphasis omitted).
18          Under the circumstances here, the court is persuaded that the percentage-of-fund method
19   is the most appropriate so as to achieve a reasonable result in this case. The Ninth Circuit “has
20   established 25% of the common fund as a benchmark award for attorneys fees.” Hanlon, 150
21   F.3d at 1029. Courts consider the “all of the circumstances of the case[,]” including the following
22   factors when determining the percentage to be applied in a given case: (1) the results achieved
23   for the class; (2) the risk of litigation; (3) the skill required and quality of work; (4) the contingent
24   nature of the fee; and (5) awards made in similar cases. See Vizcaino v. Microsoft Corp., 290
25   F.3d 1043, 1048-50 (9th Cir. 2002); Viceral v. Mistras Group, Inc., 2017 WL 661352, *3 (N.D. Cal.
26   2017) (utilizing similar factors); In re Online DCD-Rental Antitrust Litig., 779 F.3d 934, 955 (9th Cir.
27   2015) (explaining that “there are no doubt many factors that a court could apply in assessing an
28   attorneys' fees award” and that “Vizcaino does not purport to establish an exhaustive list”). The

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1    actual percentage will vary depending on the facts of each case, but in “most common fund cases,

2    the award exceeds that benchmark.” Vasquez v. Coast Valley Roofing, Inc., 266 F.R.D. 482, 491

3    (E.D. Cal. 2010) (internal quotation marks omitted).
4           Here, having considered the above factors, the court finds no reason to depart from the 25
5    percent benchmark as requested by class counsel. As the court previously noted, the settlement
6    amount is reasonable given that “statutory penalties are only available for willful violations, and
7    that if only negligence was shown, class members would be limited to their actual damages.” (Dkt.
8    145, PAO at 16); 15 U.S.C. 1681n(a)(1)(A); 15 U.S.C. 1681o(a)(1); see also Hensley v. Eckerhart,
9    461 U.S. 424, 436, 103 S.Ct. 1933, 1941 (1983) (“the most critical factor is the degree of success
10   obtained”). Also, as discussed above, see supra at § I.C.1, and in the Court’s Preliminary
11   Approval Order, the risks of continued litigation were significant. See Vizcaino, 290 F.3d at 1048
12   (risk of dismissal or loss on class certification is relevant to evaluation of a requested fee). Finally,
13   class counsel took this case on a contingent basis. (See Dkt. 148, Fees Memo at 10-11; Dkt. 149,
14   Declaration of Christopher P. Ridout in Support of Unopposed Motion for an Award of Class
15   Representative Incentive Payment and Attorneys’ Fees and Costs (“Ridout Fees Decl.”) at ¶ 25);
16   see Knight v. Red Door Salons, Inc., 2009 WL 248367, *6 (N.D. Cal. 2009) (“The importance of
17   assuring adequate representation for plaintiffs who could not otherwise afford competent attorneys
18   justifies providing those attorneys who do accept matters on a contingent-fee basis a larger fee
19   than if they were billing by the hour or on a flat fee.”). In short, consideration of the foregoing
20   factors supports class counsel’s request for attorney’s fees in the amount of 25% of the settlement
21   fund, or $300,000.00.6 The court, therefore, is satisfied that a lodestar “cross-check” is not
22   required. See Craft v. City of San Bernardino, 624 F.Supp.2d 1113, 1122 (C.D. Cal. 2008) (“A
23   lodestar cross-check is not required in this circuit, and in some cases is not a useful reference
24   point.”). In sum, a fee award of 25% out of the settlement fund ($300,000.00) established by the
25   Settlement Agreement is fair and reasonable.
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          The court notes that the amount of attorney’s fees plaintiff requests is below 25% given that
28   the $300,000 includes incurred costs.

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1              B.     Class Representative Service Award.

2              “[N]amed plaintiffs, as opposed to designated class members who are not named plaintiffs,

3    are eligible for reasonable incentive payments.” Staton, 327 F.3d at 977; see Wren, 2011 WL

4    1230826, at *31 (“It is well-established in this circuit that named plaintiffs in a class action are
5    eligible for reasonable incentive payments, also known as service awards.”). Here, plaintiff
6    requests that the court grant a service award in the amount of $5,000. (See Dkt. 148, Fees Memo
7    at 15).
8              In its order granting preliminary approval of the settlement, the court undertook an
9    examination of the fairness and adequacy of the service award at issue, applying the careful
10   scrutiny required in this Circuit. (See Dkt. 145, PAO at 18-19); see also Radcliffe v. Experian Info.
11   Sols. Inc., 715 F.3d 1157, 1163 (9th Cir. 2013) (instructing “district courts to scrutinize carefully
12   the awards so that they do not undermine the adequacy of the class representatives”). Based on
13   its review of the record, the court determined that a service award of $5,000 was presumptively
14   reasonable and did not create a conflict of interest between named plaintiff and absent class
15   members. (See Dkt. 145, PAO at 18-19). The court therefore concludes that the requested
16   service payment is fair and reasonable, and is hereby approved.
17                                                CONCLUSION
18             Based on the foregoing, IT IS ORDERED THAT:
19             1. Plaintiff’s Motion for Final Approval of Class Action Settlement and Certification of
20   Settlement Class (Document No. 154) is granted as set forth herein.
21             2. The court hereby grants final approval to the parties’ Class Action Settlement
22   Agreement (“Settlement Agreement”) (Document No. 144-1). The court finds that the Settlement
23   Agreement is fair, adequate and reasonable, appears to be the product of arm’s-length and
24   informed negotiations, and treats all members of the class fairly. The parties shall perform their
25   obligations pursuant to the terms of the Settlement Agreement and this Order.
26             3.   Plaintiff’s Motion for an Award of Class Representative Incentive Payment and
27   Attorney’s Fees and Costs (Document No. 147) is granted as set forth herein.
28             4. The following class is certified under Federal Rule of Civil Procedure 23(c) for settlement

                                                         12
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1    purposes: “All individuals who (1) were hired by Maxim between May 5, 2009 and August 27,

2    2012; (2) executed one of the forms collectively attached as Exhibit ‘A’ or a substantively identical

3    version of those forms; and (3) were the subject of a consumer report procured by Maxim before

4    August 27, 2012.”

5           5. The form, manner, and content of the Class Notice meet the requirements of Federal

6    Rules of Civil Procedure 23(c)(2).

7           6. Plaintiff Shonntey Moodie shall be paid a service payment of $5,000 in accordance with

8    the terms of the Settlement Agreement and this Order.

9           7. Class counsel shall be paid $300,000.00 in attorney’s fees and costs in accordance with

10   the terms of the Settlement Agreement.

11          8. The Claims Administrator, JND, shall be paid for its fees and expenses in accordance

12   with the terms of the Settlement Agreement.

13          9. All class members who did not validly and timely request exclusion from the settlement

14   have released their claims, as set forth in the Settlement Agreement, against any of the released

15   parties (as defined in the Settlement Agreement).

16          10. Except as to any class members who have validly and timely requested exclusion, this

17   action is dismissed with prejudice, with all parties to bear their own fees and costs except as

18   set forth herein and in the prior orders of the court.

19          11. Without affecting the finality of this Order in any way, the court hereby retains

20   jurisdiction over the parties, including class members, for the purpose of construing, enforcing, and

21   administering the Order and Judgment, as well as the Settlement Agreement itself.

22          12. Judgment shall be entered accordingly.

23   Dated this 12th day of November, 2019.

24

25                                                                         /s/
                                                                   Fernando M. Olguin
26                                                              United States District Judge
27

28

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